     Case 1:18-cv-01654-JEJ-KM Document 6 Filed 09/11/18 Page 1 of 2




            IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JOSHUA A. MONIGHAN          :
                  Plaintiff :
                            :              No. 1:18-CV-1654
           v.               :
                            :              Judge Jones
TOM WOLF GOVERNOR           :
COMMONWEALTH OF PA          :              Electronically Filed Document
                            :
                            :              Complaint Filed 08/21/18
                            :
                Defendants :


                      ENTRY OF APPEARANCE

    Please enter my appearance on behalf of Defendant, Governor Tom Wolf.

                                       Respectfully submitted,

                                       JOSH SHAPIRO
                                       Attorney General


                                 By:   s/ Keli M. Neary
                                       KELI M. NEARY
Office of Attorney General             Chief Deputy Attorney General
15th Floor, Strawberry Square          Civil Law Division, Litigation Section
Harrisburg, PA 17120                   Attorney ID 205178
Phone: (717) 787-1180

kneary@attorneygeneral.gov

Date: September 11, 2018
                                       Counsel for Defendant
       Case 1:18-cv-01654-JEJ-KM Document 6 Filed 09/11/18 Page 2 of 2




              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 JOSHUA A. MONIGHAN          :
                   Plaintiff :
                             :                 No. 1:18-CV-1654
            v.               :
                             :                 Judge Jones
 TOM WOLF GOVERNOR           :
 COMMONWEALTH OF PA          :                 Electronically Filed Document
                             :
                             :                 Complaint Filed 08/21/18
                             :
                 Defendants :


                         CERTIFICATE OF SERVICE

      I, Keli M. Neary, Chief Deputy Attorney General for the Commonwealth of

Pennsylvania, Office of Attorney General, hereby certify that on September 11,

2018, I caused to be served a true and correct copy of the foregoing document

titled Entry of Appearance to the following:

 VIA U.S. MAIL

 Joshua A. Monighan
 6363 Basehore Road
 Mechanicsburg, PA 17050
 Pro Se

                                       s/ Keli M. Neary
                                      KELI M. NEARY
                                      Chief Deputy Attorney General
